      Case 1:19-cv-00072-DPM Document 21 Filed 12/19/19 Page 1 of 1




          IN THE UNITED ST ATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                  BATESVILLE DIVISION

MARSHA MOFFITT; DENNIS BRADFORD;
EMILY BUTLER; and MARTIN DAVIS                             PLAINTIFFS

v.                       No.1:19-cv-72-DPM

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY                                         DEFENDANT

                             JUDGMENT

     The complaint is dismissed without prejudice.



                                 D.P. Marshall Jr.
                                 United States District Judge
